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                                                                                 2016 Nov-14 PM 04:40
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
   FOR THE NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Grady ROLLINS                                  )
Carolyn ROLLINS                                ) **Plaintiffs Demand Trial
                                               )             by Struck Jury**
      Plaintiffs                               )
                                               )
v.                                             ) Case No. ______________________
                                               )
MR. HEATER INC.                                )
ENERCO CORPORATION                             )
ENERCO GROUP INC.                              )
ENERCO TECHNICAL PRODUCTS INC. )
                                               )
No.1, whether singular or plural, the person(s) or entity(ies) who/which have done
      business as Mr. Heater and/or sold/distributed products under that brand
No.2, whether singular or plural, the person(s) or entity(ies) who/which designed the
      heater
No.3, whether singular or plural, the person(s) or entity(ies) who/which
      manufactured the heater
No.4, whether singular or plural, the person(s) or entity(ies) who/which assembled
      the heater
No.5, whether singular or plural, the person(s) or entity(ies) who/which provided
      instructions for use of the heater and/or issued adequate warnings of the
      dangers associated with using the heater
No.6, whether singular or plural, the person(s) or entity(ies) who/which imported the
      heater
No.7, whether singular or plural, the person(s) or entity(ies) who/which undertook
      to test, inspect, or certify the heater
No.8, whether singular or plural, the person(s) or entity(ies) who/which had any role
      in the distributive chain of the heater
No.9, whether singular or plural, the person(s) or entity(ies) who/which is/are the
      successor in interest of any of the entities described above
No.10, whether singular or plural, the person(s) or entity(ies) who/which is/are the
      predecessor in interest of any of the entities described above
                                               )
      Defendants                               )



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                   DIVERSITY JURISDICTION COMPLAINT

      Come now the Plaintiffs, Grady and Carolyn Rollins, who allege the following

facts, assert the following causes of action, and claim the following damages from

Defendants Mr. Heater Inc., Enerco Corporation, Enerco Group Inc., Enerco

Technical Products Inc., and Fictitious Party Defendants No.1 thru No. 10.

                          Parties, Jurisdiction and Venue

      1. Plaintiffs Grady and Carolyn Rollins are both over the age of 19, and they

are resident citizens of Cleburne County, Alabama. They have mental capacity to

handle their affairs and pursue the claims asserted herein.

      2. Defendant Mr. Heater Inc. ("Mr. Heater") is a foreign corporation that does

substantial business in the State of Alabama, within Cleburne County, and within the

Eastern Division of the territorial jurisdiction of the U.S. District Court for the

Northern District of Alabama. It has purposefully directed its activities towards, and

derived substantial profits from, the State of Alabama, Cleburne County, and the

Eastern Division of the territorial jurisdiction of the U.S. District Court for the

Northern District of Alabama. It was organized in the State of Ohio, and it has its

principal place of business in the State of Ohio. Its registered agent for service is

Jessicaa Siejka, who can be served at 4560 West 160th Street in Cleveland, Ohio

44135.

      3. Defendant Enerco Corporation is a foreign corporation that does substantial


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business in the State of Alabama, within Cleburne County, and within the Eastern

Division of the territorial jurisdiction of the U.S. District Court for the Northern

District of Alabama. It has purposefully directed its activities towards, and derived

substantial profits from, the State of Alabama, Cleburne County, and the Eastern

Division of the territorial jurisdiction of the U.S. District Court for the Northern

District of Alabama. It was organized in the State of Michigan, and it has its principal

place of business in the State of Michigan. Its registered agent for service is Thomas

Peterson, who can be served at 1615 Road 6 in Delta, Ohio 43515.

      4. Defendant Enerco Group Inc. is a foreign corporation that does substantial

business in the State of Alabama, within Cleburne County, and within the Eastern

Division of the territorial jurisdiction of the U.S. District Court for the Northern

District of Alabama. It has purposefully directed its activities towards, and derived

substantial profits from, the State of Alabama, Cleburne County, and the Eastern

Division of the territorial jurisdiction of the U.S. District Court for the Northern

District of Alabama. It was organized in the State of Ohio, and it has its principal

place of business in the State of Ohio. Its registered agent for service is Jessicaa

Siejka, who can be served at 4560 West 160th Street in Cleveland, Ohio 44135.

      5. Defendant Enerco Technical Products Inc. is a foreign corporation that does

substantial business in the State of Alabama, within Cleburne County, and within the

Eastern Division of the territorial jurisdiction of the U.S. District Court for the


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Northern District of Alabama. It has purposefully directed its activities towards, and

derived substantial profits from, the State of Alabama, Cleburne County, and the

Eastern Division of the territorial jurisdiction of the U.S. District Court for the

Northern District of Alabama. It was organized in the State of Ohio, and it has its

principal place of business in the State of Ohio. Its registered agent for service is John

Duross, who can be served at 4560 West 160th Street in Cleveland, Ohio 44135.

      6. Defendants Enerco Corporation, Enerco Group Inc., and Enerco Technical

Products Inc. are hereinafter referred to as "Enerco."

      7. Fictitious Party Defendant(s) No.1, whether singular or plural, is/are the

person(s) or entity(ies) who/which have done business as Mr. Heater and/or

sold/distributed products under that brand.

      8. Fictitious Party Defendant(s) No.2, whether singular or plural, is/are the

person(s) or entity(ies) who/which designed the heater.

      9. Fictitious Party Defendant(s) No.3, whether singular or plural, is/are the

person(s) or entity(ies) who/which manufactured the heater.

      10. Fictitious Party Defendant(s) No.4, whether singular or plural, is/are the

person(s) or entity(ies) who/which assembled the heater.

      11. Fictitious Party Defendant(s) No.5, whether singular or plural, is/are the

person(s) or entity(ies) who/which provided instructions for use of the heater and/or

issued adequate warnings of the dangers associated with using the heater.


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      12. Fictitious Party Defendant(s) No.6, whether singular or plural, is/are the

person(s) or entity(ies) who/which imported the heater.

      13. Fictitious Party Defendant(s) No.7, whether singular or plural, is/are the

person(s) or entity(ies) who/which undertook to test, inspect, or certify the heater.

      14. Fictitious Party Defendant(s) No.8, whether singular or plural, is/are the

person(s) or entity(ies) who/which had any role in the distributive chain of the heater.

      15. Fictitious Party Defendant(s) No.9, whether singular or plural, is/are the

person(s) or entity(ies) who/which is/are the successor in interest of any of the entities

described above.

      16. Fictitious Party Defendant(s) No.10, whether singular or plural, is/are the

person(s) or entity(ies) who/which is/are the predecessor in interest of any of the

entities described above.

      17. The identities of Fictitious Party Defendants Nos. 1 thru 10 are unknown.

However, their true names will be substituted by amendment when they are

ascertained.

      18. Mr. Heater, Enerco, and Fictitious Party Defendants Nos. 1 thru 10 are

hereafter collectively referred to as "Defendants."

      19. Upon information and belief, the heater at issue in this case is a model

number MH15T Mr. Heater Gas Fired Infra-Red Portable Heater.

      20. The heater was purchased by Grady at the Bass Pro Shop in Leeds,


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Alabama within the last eight years.

       21. The heater was designed, tested, manufactured, assembled, inspected,

imported, distributed, and/or sold by one or more of the Defendants. One or more of

the Defendants also provided instructions for use of the heater and/or issued adequate

warnings to persons of the dangers associated with the heater.

       22. The Defendants designed, tested, manufactured, assembled, inspected,

imported, distributed, and/or sold the heater that injured Grady with the intention,

expectation, and purpose that it would be distributed through the chain of commerce

and that it would be ultimately sold and used in the State of Alabama, Cleburne

County, and the Eastern Division of the territorial jurisdiction of the U.S. District

Court for the Northern District of Alabama.

       23. Venue is proper in this division and district pursuant to 28 U.S.C. §

1391(b)(1),(c)(2),(d) because one or more of the Defendants reside in this division

and district. Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred

in this division and district.

       24. Grady and Carolyn separately and severally seek to recover an amount in

excess of $75,000.00, exclusive of interest and costs.

                                 SUBSTANTIVE FACTS

       25. On or about January 11, 2016, Grady was working in his shop located in


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a freestanding building near his home at 480 Perryman Bridge Road, Heflin, Alabama

36264, which is in Cleburne County.

      26. Because it was cold outside, Grady was wearing blue jeans and insulated

coveralls, and he was heating his shop with the Mr. Heater brand propane heater

described above.

      27. While working in his shop, Grady inadvertently came in close proximity

to, and/or in contact with, the external guard on the front of the heater.

      28. Grady's clothing caught fire and he suffered extensive burns on both legs

from his ankles to his groin.

      29. Grady was taken by ambulance to the UAB Burn Center, where he

remained in care of the facility for approximately thirty-one days and during that time

underwent numerous debridement and grafting procedures.

      30. Grady has (1) suffered severe and permanent burn injuries and scarring, and

he will suffer those injuries and scarring for the rest of his life, (2) suffered physical

pain, mental suffering, and mental anguish, and he will suffer these maladies for the

rest of his life, and (3) incurred hospital, nursing, rehabilitation, and other medical

expenses, and he will incur these expenses for the rest of his life. Carolyn has the lost

the consortium, services, society, protection, care, assistance, companionship,

comfort, guidance, and advice of her husband Grady, and she will lose these benefits

from her spouse for the rest of her life.


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                                CAUSES OF ACTION

                              Count 1: AEMLD Claims

      31. Grady and Carolyn adopt the paragraphs set forth above as if fully set out

herein.

      32. This count is brought against the Defendants pursuant to the Alabama

common law, and specifically the Alabama Extended Manufacturers' Liability

Doctrine.

      33. At the aforesaid time and place, and for sometime prior thereto, the

Defendants were engaged in the business of designing, manufacturing, assembling,

testing, inspecting, marketing, distributing, and/or selling heaters throughout the

United States, including the State of Alabama, for use by the general public for profit.

The Defendants designed, manufactured, assembled, tested, inspected, marketed,

imported, distributed, and/or sold the subject heater.

      34. At the time Grady was burned, there was no unforeseeable substantial

change to the heater from the time it left the possession of the Defendants until it

reached Grady, the ultimate user or consumer. To the contrary, the heater was in

substantially the same condition when Grady used it as when the heater left the

possession of the Defendants.

      35. The heater was not reasonably safe when used in a foreseeable manner. To

the contrary, it was in a defective and unreasonably dangerous condition to the human


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body when being so used.

      36. Specifically, the heater's defects include that it was not properly guarded

to prevent clothing and/or other flammable materials from igniting by incidental

contact with, and/or by being in close proximity to, the front of the heater.

Specifically, the heater was designed and manufactured with a guard that essentially

served no useful purpose. The heater is designed so poorly that the temperature at the

external guard is so high that clothing may be ignited either when it gets within close

proximity to the guard and/or when clothing contacts it for as little as one second.

      37. Moreover, the flame is recessed from the guard and there is nothing to

indicate the temperature of the external surface or guard.

      38. Grady used the heater in a way that was foreseeable to Defendants. The

manner in which Grady was injured was also foreseeable to Defendants.

      39. The warnings and instructions accompanying the heater also rendered the

heater defective and unreasonably dangerous. Specifically, they were inadequate to

warn the user of the dangers of ignition from near or incidental contact, they were

inadequate to instruct the user how to use the heater without sustaining injury or

damage, and they were inadequate to warn and instruct the user on all foreseeable

uses of the heater such as the use in which Grady used the heater.

      40. At the time that the heater was designed and manufactured, there were safer

alternative designs that would have alleviated the defects stated above and would


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have prevented the risk of injury without substantially impairing the heater's utility.

Most prominently, the larger and more prominent guard at the rear of the heater that

was designed to protect the user from inadvertent burns could have been duplicated

and used in the front of the heater as well. This and other safer alternative designs

were economically and technologically feasible at the time the heater left the control

of the Defendants by the application of existing or reasonably achievable scientific

knowledge and/or plain common sense.

      41. The defective and unreasonable dangerous condition of the heater was the

direct and proximate cause of the injuries and damages of Grady and Carolyn as set

forth in paragraph 30 above. These injuries and damages would have been prevented

if the heater had not been defective and unreasonably dangerous.

      WHEREFORE, PREMISES CONSIDERED, Grady and Carolyn respectfully

requests this Honorable Court to enter judgment in their favor and against the

Defendants. Grady and Carolyn request an award of compensatory damages in an

amount determined by a jury, together with interest, costs, and all other relief which

may be just and proper.

                            Count 2: Negligence Claims

      42. Grady and Carolyn adopt the paragraphs set forth above as if fully set out

herein.

      43. This count is brought against the Defendants pursuant to the Alabama


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common law tort of negligence.

      44. The Defendants and/or their employees negligently designed,

manufactured, tested, inspected, assembled, imported, marketed, distributed, and sold

the heater for the reasons stated in paragraphs 36 thru 40 above. The Defendants

knew, or in the exercise of reasonable care should have known, that the heater was

defective and unreasonably dangerous. The Defendants also negligently failed to

adequately warn users of the defects stated above and also negligently failed to

adequately instruct users the dangers of close or incidental contact as stated above.

The Defendants also acted negligently in other ways.

      45. All of the foregoing negligent conduct of the Defendants was the direct and

proximate cause of the injuries and damages of Grady and Carolyn as set forth in

paragraph 30 above. These injuries and damages could have been prevented if the

Defendants had acted with reasonable care.

      46. The Defendants are vicariously liable for the torts committed by their

employees in the course and scope of their employment under the doctrine of

respondeat superior.

      WHEREFORE, PREMISES CONSIDERED, Grady and Carolyn respectfully

requests this Honorable Court to enter judgment in their favor and against the

Defendants. Grady and Carolyn request an award of compensatory damages in an

amount determined by a jury, together with interest, costs, and all other relief which


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may be just and proper.

                             Count 3: Wantonness Claims

      47. Grady and Carolyn adopt the paragraphs set forth above as if fully set out

herein.

      48. This count is brought against the Defendants pursuant to the Alabama

common law tort of wantonness.

      49. The Defendants and/or their employees wantonly designed, manufactured,

tested, inspected, assembled, imported, marketed, distributed, and sold the heater for

the reasons stated in paragraphs 36 thru 40 above. The Defendants also wantonly

failed to adequately warn users of the defects stated above and also negligently failed

to adequately instruct users the dangers of close or incidental contact as stated above.

The Defendants also acted wantonly in other ways.

      50. By consciously doing (and not doing) the acts set-forth above, the

Defendants and/or their employees knew that from doing the acts (or not doing the

acts) that injury will likely or probably result to a user. Their conduct was intentional,

wanton, reckless, malicious and oppressive.

      51. All of the foregoing negligent conduct of the Defendants was the direct and

proximate cause of the injuries and damages of Grady and Carolyn as set forth in

paragraph 30 above. These injuries and damages could have been prevented if the

Defendants had acted with reasonable care.


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      52. The Defendants are vicariously liable for the torts committed by their

employees in the course and scope of their employment under the doctrine of

respondeat superior.

      WHEREFORE, PREMISES CONSIDERED, Grady and Carolyn respectfully

requests this Honorable Court to enter judgment in their favor and against the

Defendants. Grady and Carolyn request an award of compensatory and punitive

damages in an amount determined by a jury, together with interest, costs, and all other

relief which may be just and proper.

                    Count 4: Breach of Implied Warranty Claims

      53. Grady and Carolyn adopt the paragraphs set forth above as if fully set out

herein.

      54. This count is brought against pursuant to Ala. Code § 7-2-314.

      55. The Defendants impliedly warranted that the heater was reasonably fit and

suitable for the purposes for which it was intended to be used, was free of defects, and

was of merchantable quality. The Defendants breached said warranties because of the

reasons set-forth in paragraphs 36 thru 40 above and because the heater was not

reasonably fit or suitable for the purposes for which it was intended to be used.

      56. The breach of warranty by the Defendants was the direct and proximate

cause of the injuries and damages of Grady and Carolyn as set forth in paragraph 30

above. These injuries and damages could have been prevented if the Defendants had


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not breached their warranty.

      WHEREFORE, PREMISES CONSIDERED, Grady and Carolyn respectfully

requests this Honorable Court to enter judgment in their favor and against the

Defendants. Grady and Carolyn request an award of compensatory damages in an

amount determined by a jury, together with interest, costs, and all other relief which

may be just and proper.

                             Count 5: Alter-Ego Claims

      57. Grady and Carolyn adopt the paragraphs set forth above as if fully set out

herein.

      58. One or more of the Defendants controls the operational and fiscal activities

of one or more of the others and operated as the same business. These Defendants are

alter-egos of one another, and each are liable for the others' tortuous acts, including

liability for all judgments rendered pursuant to Counts 1, 2, 3, and 4 above.

      WHEREFORE, PREMISES CONSIDERED, Grady and Carolyn request a

judgment in their favor (1) that holds these Defendants liable to them for the

judgments rendered against their alter-egos on Counts 1, 2, 3, and 4 above and (2)

that holds these Defendants liable to them for the damage awards imposed on their

alter-egos for the injuries and damages set-forth in Counts 1, 2, 3, and 4 above.

                        Count 6: Successor Liability Claims

      59. Grady and Carolyn adopt the paragraphs set forth above as if fully set out


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herein.

      60. One or more of the Defendants is the legal successor of one or more of the

other Defendants, and, as such, it/they have succeeded to the liabilities of the others'

tortious acts, including the liability for all claims stated against those Defendants in

Counts 1, 2, 3, and 4 above.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiffs requests a judgment

in their favor (1) that holds the Defendants liable to Grady and Carolyn for the

judgments rendered against their predecessors and/or successors on Counts 1, 2, 3,

and 4 above and (2) that holds them liable to Grady and Carolyn for the awards

imposed on their predecessors for the injuries and damages set-forth above in Counts

1, 2, 3, and 4 above.

                    **Plaintiffs Request a Trial by Struck Jury**

                             Respectfully submitted by
                    the Attorneys for Grady and Carolyn Rollins

                                 /s/ Michael Beard
                                 Michael Beard (BEA-004)

                                 /s/ Richard Riley
                                 Richard Riley (RIL-014)
OF COUNSEL:
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                            REQUEST FOR SERVICE

      Whitney requests that the Clerk immediately issue a summons pursuant to
A.R.C.P. 4(i)(2) and F.R.C.P. 4(e)(1) for the following Defendants to be served at the
following address by certified mail at the following address:

      MR. HEATER INC.
      c/o Jessicaa Siejka, Its Registered Agent
      4560 West 160th Street
      Cleveland, Ohio 44135

      ENERCO CORPORATION
      c/o Thomas Peterson
      1615 Road 6
      Delta, Ohio 43515

      ENERCO GROUP INC.
      c/o Jessicaa Siejka
      4560 West 160th Street
      Cleveland, Ohio 44135

      ENERCO TECHNICAL PRODUCTS INC.
      c/o John Duross
      4560 West 160th Street
      Cleveland, Ohio 44135
                             /s/ Richard Riley
                             Richard Riley (RIL-014)




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